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                      Court.Nsae; United States District Court
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                      Cashier ID: tlevinso                 :        /
                      Transaction Date: 07/01/2889
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